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UNITED STATES DISTRICT COURT

THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA )
)
Vv ) No.: Cr. 1:22-cr-00015-APM-8
)
DAVID MOERSCHEL )

NOTICE OF APPEARANCE

PLEASE TAKE NOTICE that CONNOR ROBERT MARTIN, ESQ., hereby enters this
Notice of Appearance on behalf of the Defendant, DAVID MOERSCHEL, in the above-styled

cause as trial counsel.

CERTIFICATE OF SERVICE
IT HEREBY CERTIFY that on October 25, 2022, a true and correct copy of the foregoing
was furnished by using the CM/ECF system with the Clerk of the Court, which will send notice of

the electronic filing to all interested parties, including the Office of the United States Attorney.

Respectfully submitted,

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